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| A S | & I LLP

Jeffrey L. Schulman
Partner

 

May 30, 2019

VIA ECF AND FIRST CLASS MAIL

The Honorable Paul A. Crotty

United States District Court for the
Southern District of New York

United States District Courthouse

500 Pearl Street, Chambers 1350
New York, NY 10007

RE: Federal Insurance Company, et al. v. Harvey Weinstein
Civil Action No. 1:18-cv-02526 (RWLx)

Dear Judge Crotty:

This firm is insurance recovery counsel to Harvey Weinstein. Pursuant to Your Honor’s
Individual Practice Rule No. 1, the parties jointly request that the Court’s April 29, 2019
Scheduling Order (Dkt. No. 133) be held in abeyance until the June 25, 2019 Status Conference.
There have been no prior requests for an adjournment of this schedule.

As has been widely reported, an agreement in principle has been reached on the
economic terms of a settlement among the parties to this action, various plaintiffs and defendants
in the underlying litigation, and certain others. If memorialized and approved, the settlement
will result in the discontinuance of all three related insurance coverage matters pending before
this Court without the need for further discovery or motion practice. Thus, the parties jointly

request that the deadlines by which the parties were directed to conduct further discovery

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pertaining to choice of law issues in accordance with this Court’s March 28, 2019 Order (Dkt.
No. 129) be held in abeyance. We anticipate having a further update with regard to that
settlement on or before the June 25 Status Conference.

We thank the Court for its consideration of this request.

Il submitted,

Jeffrey L. Schulman

cc: All counsel of record (by ECF)

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